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    7
    8                           UNITED STATES DISTRICT COURT
    9                         CENTRAL DISTRICT OF CALIFORNIA
   10
   11 ROY PAYAN; PORTIA MASON;                Case No. 2:17-cv-01697 SVW(SKx)
      THE NATIONAL FEDERATION; OF             [Civil Rights]
   12 THE BLIND, INC.; and THE
      NATIONAL FEDERATION OF THE              NOTICE OF WITNESS
   13 BLIND OF CALIFORNIA, INC.,              AVAILABILITY
   14                  Plaintiffs,            Date: May 23, 2023
                                              Time: 9:00 a.m.
   15            v.                           Crtrm.: 10A
   16 LOS ANGELES COMMUNITY
        COLLEGE DISTRICT, and DOES 1
   17 through 10, inclusive,                  Trial Date: May 23, 2023
   18                  Defendants.
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        LA42-0000025
                                              1         NOTICE OF WITNESS AVAILABILITY
        14562161.1
Case 2:17-cv-01697-SVW-SK Document 538 Filed 05/16/23 Page 2 of 4 Page ID #:14362




    1           Pursuant to the Court’s order during a Pre-Trial Conference on May 15, 2023,
    2 defendant Los Angeles Community College District (“Defendant”) hereby provides
    3 notice that defense witnesses Jorge Mata and Barbara Vasquez will testify in person
    4 in this matter.
    5 DATED: May 16, 2023                   HAIGHT BROWN & BONESTEEL LLP
    6
    7
    8
                                            By:
                                                  Bruce Cleeland
    9                                             Yvette Davis
   10                                             Attorneys for Defendant
                                                  LOS ANGELES COMMUNITY
   11                                             COLLEGE DISTRICT
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                                                   2          NOTICE OF WITNESS AVAILABILITY
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Case 2:17-cv-01697-SVW-SK Document 538 Filed 05/16/23 Page 3 of 4 Page ID #:14363




    1                                  PROOF OF SERVICE
    2        Payan; Mason; The National Federation of the Blind, et al. v. LACCD, et al.
    3                        USDC Case No. 2:17-cv-01697-SVW-(SKx)
    4 STATE OF CALIFORNIA, COUNTY OF ORANGE
    5       At the time of service, I was over 18 years of age and not a party to this
      action. I am employed in the County of Orange, State of California. My business
    6 address is 2030 Main Street, Suite 1525, Irvine, CA 92614.
    7        On May 16, 2023, I served true copies of the following document(s)
      described as NOTICE OF WITNESS AVAILABILITY on the interested parties
    8 in this action as follows:
    9                           SEE ATTACHED SERVICE LIST
   10        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
      the document(s) with the Clerk of the Court by using the CM/ECF system.
   11 Participants in the case who are registered CM/ECF users will be served by the
      CM/ECF system. Participants in the case who are not registered CM/ECF users will
   12 be served by mail or by other means permitted by the court rules.
   13       I declare under penalty of perjury under the laws of the United States of
      America that the foregoing is true and correct and that I am employed in the office
   14 of a member of the bar of this Court at whose direction the service was made.
   15           Executed on May 16, 2023, at Irvine, California.
   16
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                                                   Cindy Mulder
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        LA42-0000025                                           NOTICE OF WITNESS AVAILABILITY
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Case 2:17-cv-01697-SVW-SK Document 538 Filed 05/16/23 Page 4 of 4 Page ID #:14364




    1                                    SERVICE LIST
    2        Payan; Mason; The National Federation of the Blind, et al. v. LACCD, et al.
    3                       USDC Case No. 2:17-cv-01697-SVW-(SKx)
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        LA42-0000025                                          NOTICE OF WITNESS AVAILABILITY
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